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                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF KENTUCKY
                                      LOUISVILLE DIVISION

AMBER NICHOLS,                                    )
    Plaintiff                                     )
                                                  )
v.                                                )       CASE NO. 3:12CV-76-R
                                                  )
COLLECTION ASSOCIATES, INC.,                      )
     Defendant                                    )

                                        NOTICE OF REMOVAL

         Defendant, Collection Associates, Inc., by counsel, William E. Smith, III, of the law firm

of Kightlinger & Gray, LLP, pursuant to 28 U.S.C. § 1441 and 28 U.S.C. § 1446, hereby files its

Notice of Removal of this cause to the United States District Court for the Western District of

Kentucky, Louisville Division, from the Jefferson Circuit Court, Division 12, Louisville,

Kentucky, and in support of this Motion states:

         1.          Defendant is the Defendant in the action now pending in the Jefferson Circuit

Court, Division 12, Cause No. 12-CI-00212, and Defendant hereby files this Notice of Removal.

         2.          On January 11, 2012 Plaintiff commenced this cause of action.

         3.          The Defendant was not served with this action until on or about January 19, 2012.

         4.          The cause of action stated in Plaintiff’s Complaint is for an alleged violation of

the Fair Debt Collection Practices Act 15 U.S.C. § Section 1692 et seq (“FDCPA”).

         5.          Pursuant to 15 U.S.C. § 1692k(d), the District Court has jurisdiction over causes

of action under the FDCPA.

         6.          Pursuant to 28 U.S.C. § 1441(b) civil actions on which the District Court have

original jurisdiction that are found on a claim or right arising under the laws of the United States,

are removable without regard to the citizenship or residence of the parties.




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         7.          Attached hereto, made a part hereof, and marked as Exhibit “A” is a copy of the

Defendant’s Notice to Plaintiff and Clerk of the Jefferson Circuit Court, Division 12, of the

Defendant’s application to remove cause of action to the U.S. District Court, which was sent to

the State court contemporaneously with the filing of this Notice of Removal.

         8.          Attached hereto, made a part hereof, and marked as Exhibit “B”, is a copy of all

other pleadings filed in the Jefferson Circuit Court, Division 12.

         WHEREFORE, the Defendant, Collection Associates, Inc., by counsel, files its Notice of

Removal of this cause of action from the Jefferson Circuit Court, Division 12, to this Court.

                                                         Respectfully submitted,

                                                         KIGHTLINGER & GRAY, LLP

                                                         /s/ William E. Smith, III
                                                         William E. Smith, III
                                                         Attorney for Defendant

                                     CERTIFICATE OF SERVICE

       I hereby certify that I have served a copy of the foregoing by first class mail, postage
prepaid this 9th day of February, 2012 to:

         Scott A. Walitch
         COOPER & FRIEDMAN, PLLC
         1448 Gardiner Lane
         Suite 301-303
         Louisville, KY 40213


                                                         /s/ William E. Smith, III
                                                         William E. Smith, III

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